Fill in this information to identify your case:

United States Bankruptcy Court for the:

WESTERN DISTRICT OF WASHINGTON

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           06/22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                FS Ventures, LLC

2.   All other names debtor
     used in the last 8 years
     Include any assumed          DBA Cascade Elevators
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  19009 62nd Ave., NE
                                  Arlington, WA 98223
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Snohomish                                                       Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       cascadeelevators.com


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




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                Case 24-11571-CMA                   Doc 1       Filed 06/21/24            Ent. 06/21/24 18:56:19                Pg. 1 of 18
Debtor    FS Ventures, LLC                                                                             Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                         http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                 23

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                          Chapter 7
     debtor filing?
     A debtor who is a “small             Chapter 9
     business debtor” must check          Chapter 11. Check all that apply:
     the first sub-box. A debtor as
     defined in § 1182(1) who                                    The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     elects to proceed under                                     noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     subchapter V of chapter 11                                  $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
     (whether or not the debtor is a                             operations, cash-flow statement, and federal income tax return or if any of these documents do not
     “small business debtor”) must                               exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     check the second sub-box.
                                                                 The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
                                                                 debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                 proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                 balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                 any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12

9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                                 When                                  Case number
                                                 District                                 When                                  Case number




Official Form 201                            Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                 page 2
                 Case 24-11571-CMA                      Doc 1      Filed 06/21/24              Ent. 06/21/24 18:56:19                    Pg. 2 of 18
Debtor    FS Ventures, LLC                                                                                Case number (if known)
          Name

10. Are any bankruptcy cases                 No
    pending or being filed by a
    business partner or an                   Yes.
    affiliate of the debtor?




     List all cases. If more than 1,
     attach a separate list                          Debtor                                                                    Relationship
                                                     District                                 When                             Case number, if known


11. Why is the case filed in           Check all that apply:
    this district?
                                                Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                                preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                                A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or                 No
    have possession of any
    real property or personal                       Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                           Yes.
    property that needs
    immediate attention?                            Why does the property need immediate attention? (Check all that apply.)
                                                       It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                      What is the hazard?
                                                       It needs to be physically secured or protected from the weather.
                                                       It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                      livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                       Other
                                                    Where is the property?
                                                                                     Number, Street, City, State & ZIP Code
                                                    Is the property insured?
                                                       No
                                                       Yes.     Insurance agency
                                                                Contact name
                                                                Phone



          Statistical and administrative information

13. Debtor's estimation of             .         Check one:
    available funds
                                                    Funds will be available for distribution to unsecured creditors.
                                                    After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of                    1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                               5001-10,000                                 50,001-100,000
                                           50-99
                                           100-199                                          10,001-25,000                               More than100,000
                                           200-999

15. Estimated Assets                       $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                           $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                           $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                           $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities                  $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion

Official Form 201                                  Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 3
                 Case 24-11571-CMA                            Doc 1      Filed 06/21/24             Ent. 06/21/24 18:56:19                  Pg. 3 of 18
Debtor   FS Ventures, LLC                                                          Case number (if known)
         Name

                            $50,001 - $100,000                         $10,000,001 - $50 million            $1,000,000,001 - $10 billion
                            $100,001 - $500,000                        $50,000,001 - $100 million           $10,000,000,001 - $50 billion
                            $500,001 - $1 million                      $100,000,001 - $500 million          More than $50 billion




Official Form 201                 Voluntary Petition for Non-Individuals Filing for Bankruptcy                                       page 4
                Case 24-11571-CMA         Doc 1       Filed 06/21/24         Ent. 06/21/24 18:56:19            Pg. 4 of 18
Debtor    FS Ventures, LLC                                                                         Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      June 21, 2024
                                                  MM / DD / YYYY


                             X /s/ Michael Skalski                                                        Michael Skalski
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   Managing Member




18. Signature of attorney    X /s/ Thomas D. Neeleman                                                      Date June 21, 2024
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Thomas D. Neeleman 33980
                                 Printed name

                                 Neeleman Law Group, P.C.
                                 Firm name

                                 1403 8th Street
                                 Marysville, WA 98270
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     (425) 212-4800                Email address      courtmail@expresslaw.com

                                 33980 WA
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 5
                 Case 24-11571-CMA                  Doc 1        Filed 06/21/24             Ent. 06/21/24 18:56:19                 Pg. 5 of 18
 Fill in this information to identify the case:
 Debtor name FS Ventures, LLC
 United States Bankruptcy Court for the: WESTERN DISTRICT OF                                                                                 Check if this is an
                                                WASHINGTON
 Case number (if known):                                                                                                                     amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                        partially secured          of collateral or setoff
 16d LLC                                             Vendor                    Disputed                                                                          $31,863.60
 PO BOX 804
 Vashon, WA 98070
 Alpha Elevator                                      Vendor                                                                                                      $19,652.14
 Control
 6711 Power Inn
 Suite B
 Sacramento, CA
 95828
 Altus Receivables                                   Collections                                                                                                 $14,546.75
 Management                                          Collecting For
 PO BOX 186                                          CED Cosolidated
 Metairie, LA                                        Electrical
 70004-0186
 Cascadia Electrical                                 Vendor                                                                                                      $54,333.83
 Solutions,
 1520 4th Street
 Marysville, WA
 98270
 DP Wain                                             Contract Dispute          Disputed                                                                        $270,000.00
 Construction
 PO BOX 3771
 Silverdale, WA
 98383
 Elevations, LTD                                     Vendor                                                                                                    $138,337.50
 5620 South Proctor
 St.
 #B
 Tacoma, WA 98409
 Elevator Controls                                   Vendor                                                                                                      $17,600.00
 Corporation
 PO BOX 102517
 Pasadena, CA
 91189-2317




Official form 204                       Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1




                    Case 24-11571-CMA               Doc 1         Filed 06/21/24             Ent. 06/21/24 18:56:19                         Pg. 6 of 18
 Debtor    FS Ventures, LLC                                                                          Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                        partially secured          of collateral or setoff
 Elevator                                                                                                                                                        $19,381.00
 Manufacturing LLC
 1309 Dale Ave
 Benton City, WA
 99320
 Ford Motor Credit                                   2023 Ford T250                                        $220,000.00                        $0.00            $220,000.00
 P.O. Box 650573                                     (VIN 6776), 2023
 Dallas, TX 75265                                    Ford T350 (VIN
                                                     9934), 2022 Ford
                                                     Escape (VIN
                                                     7145), 2022 Ford
                                                     Escape (VIN
                                                     3345), 2023 Ford
                                                     T250 (VIN 6505)
 Heating and Cooling                                 Vendor                                                                                                      $34,495.00
 NW
 2207 Lundquist
 Lane
 Lake Stevens, WA
 98258
 Innovation                                          Vendor                                                                                                      $18,218.96
 industries, Inc.
 3500 E Main St
 Russellville, AR
 72802-9673
 IRS                                                 Taxes                                                                                                     $125,000.00
 Centralized
 Insolvency
 P.O. Box 7346
 Philadelphia, PA
 19101-7346
 La Conner Country                                   Lawsuit -                 Disputed                                                                          $90,825.71
 Inn, LLC                                            Construction
 c/o Thomas Bigsby,                                  Contract
 PLLC
 1907 Everett Ave.
 Everett, WA 98201
 NEII Benefit Plans                                  Vendor                                                                                                    $189,000.00
 19 Campus Blvd,
 Suite 200
 Newtown Square,
 PA 19073-3288
 Nortech                                             Vendor                                                                                                      $12,125.30
 9630 49th Ave S.
 Seattle, WA 98118
 Regence Health                                      Insurance                                                                                                   $13,105.36
 Plan
 1800 - 9th Ave.
 Seattle, WA 98101




Official form 204                       Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2




                    Case 24-11571-CMA               Doc 1         Filed 06/21/24             Ent. 06/21/24 18:56:19                         Pg. 7 of 18
 Debtor    FS Ventures, LLC                                                                          Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                        partially secured          of collateral or setoff
 Spire University                                    Contract Dispute          Disputed                                                                        $350,370.41
 Buidling
 PO BOX 82644
 Goleta, CA 93118
 Surety Group                                        Bond                                                                                                        $12,000.00
 801 South Figuera
 Street
 Suite 700
 Los Angeles, CA
 90017
 Tesla Electic, LLC                                  Vendor                                                                                                      $37,398.77
 PO BOX 7066
 Bonney Lake, WA
 98391
 WA Department of                                                                                                                                              $163,516.78
 Revenue
 2101 4th Ave, Ste
 1400
 Seattle, WA 98121




Official form 204                       Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 3




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                        16D LLC
                        PO BOX 804
                        VASHON, WA 98070


                        AALBU BROTHERS, LLC
                        19129 SMOKEY POINT BLVD. #1
                        ARLINGTON, WA 98223


                        AFCO
                        PO BOX 4795
                        CAROL STREAM, IL 60197


                        ALEXANDER CANNON



                        ALPHA ELEVATOR CONTROL
                        6711 POWER INN
                        SUITE B
                        SACRAMENTO, CA 95828


                        ALSTON, COURTNAGE &
                        BASSETTI, LLP
                        600 UNIVERSITY STREET
                        SUITE 2310
                        SEATTLE, WA 98101


                        ALTUS RECEIVABLES MANAGEMENT
                        PO BOX 186
                        METAIRIE, LA 70004-0186


                        AMERICAN CONTRACTORS INDEMNITY
                        801 FIGUEROA STREET
                        SUITE 700
                        LOS ANGELES, CA 90017


                        ANSWERNET, INC.
                        3930 COMMERCE AVE
                        WILLOW GROVE, PA 19090


                        ATTORNEY GENERAL FOR WA STATE
                        BANKRUPTCY & COLLECTIONS UNIT
                        800 FIFTH AVE, 20TH FLOOR
                        SEATTLE, WA 98104




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                    AUBURN MECHANICAL
                    PO BOX 249
                    AUBURN, WA 98071


                    BAILEY, DUSKIN & PEIFFLE, P.S.
                    ATTORNEYS AT LAW
                    PO BOX 188
                    ARLINGTON, WA 98223-0180


                    BARCO RENT-A-TRUCK
                    717 SOUTH 5600 WEST
                    SALT LAKE CITY, UT 84104


                    BASIC AMERICAN, INC.
                    ATTENTION GARY BLEAZARD
                    538 POTATO FRONTAGE RD SE
                    MOSES LAKE, WA 98837


                    BAYSIDE SERVICES
                    PO BOX 216
                    EVERSON, WA 98247-0216


                    BLAKE HURLBUT



                    CANON FINANCIAL SERVICES
                    14904 COLLECGTIONS CENTER
                    CHICAGO, IL 60693


                    CASCADIA ELECTRICAL SOLUTIONS,
                    1520 4TH STREET
                    MARYSVILLE, WA 98270


                    CHRISTENSEN USA
                    1912 S 146TH ST
                    SEATTLE, WA


                    CITY OF ARLINGTON
                    238 N OYLMPIC AVE
                    ARLINGTON, WA 98223


                    COLBY
                    3802 COLBY AVE.,
                    EVERETT, WA 98201



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                    COLUMBIA ELEVATOR
                    7702 WEST FIFTH AVE
                    WINFIELD, KS 67156


                    COMCAST BUSINESS



                    CONSOLIATED ELECTRICAL DIST.
                    3000 WALNUT AVE
                    LONG BEACH, CA 90807


                    COPPER STATE SPECIALIST/UNION
                    4874 S WARNER DR.
                    APACHE JUNCTION, AZ 85120


                    COSCO FIRE PROTETION
                    4308 S 131ST PLACE
                    SEATTLE, WA 98168-0320


                    CT CORPORATION
                    330 NORTH BERAND BLVD
                    SUITE 700
                    GLENDALE, CA 91203


                    DELAWARE ELEVATOR
                    2210 ALLEN DR
                    SALISBURY, MD 21801


                    DP WAIN CONSTRUCTION
                    PO BOX 3771
                    SILVERDALE, WA 98383


                    ELEVATIONS, LTD
                    5620 SOUTH PROCTOR ST.
                    #B
                    TACOMA, WA 98409


                    ELEVATOR CONTROLS CORPORATION
                    PO BOX 102517
                    PASADENA, CA 91189-2317


                    ELEVATOR MANUFACTURING LLC
                    1309 DALE AVE
                    BENTON CITY, WA 99320



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                    ELIZABETH DAVIS
                    BURKE, WARREN, MACKAY
                    & SERRITLLA, PC
                    330 N WABASH AVE., STE 2100
                    CHICAGO, IL 60611


                    EMPLOYMENT SECURITY DEPT
                    P.O. BOX 9046
                    OLYMPIA, WA 98507


                    FORD CREDIT
                    PO BOX 650573
                    DALLAS, TX 75265-0573


                    FORD MOTOR CREDIT
                    P.O. BOX 650573
                    DALLAS, TX 75265


                    FORD MOTOR CREDIT
                    P.O. BOX 689007
                    FRANKLIN, TN 37068


                    FUELMAN FLEETCOR
                    PO BOX 70887
                    CHARLOTTE, NC 28272


                    GAL MANUFACTORING COMPANY
                    50 E 153RD ST
                    BRONX, NY 10451


                    GARDEN COURT
                    1631 16TH AVE
                    SEATTLE, WA 98122


                    GOOD TO GO
                    PO BOX 34562
                    SEATTLE, WA 98124


                    GRAINGER
                    3013 WALNUT ST
                    EVERETT, WA 98201


                    HEATING AND COOLING NW
                    2207 LUNDQUIST LANE
                    LAKE STEVENS, WA 98258


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                    HERMES LAW FIRM, P.S.
                    1812 HEWITT AVE, SUITE 102
                    EVERETT, WA 98201


                    HOLISTER-WHITNEY ELEVATOR CO.
                    #1 HOLLISTER-WHITNEY PARKWAY
                    PO BOX 4025
                    QUINCY, IL 62305-4025


                    INNOVATION INDUSTRIES, INC.
                    3500 E MAIN ST
                    RUSSELLVILLE, AR 72802-9673


                    IRS
                    CENTRALIZED INSOLVENCY
                    P.O. BOX 7346
                    PHILADELPHIA, PA 19101-7346


                    JUNIE MIN/DAYS INN SEATTLE
                    9100 AURORA AVE
                    SEATTLE, WA 98185


                    KINGS III OF AMERICA, LLC
                    751 CANYON DRIVE, 3100
                    COPPELL, TX 75019


                    LA CONNER COUNTRY INN, LLC
                    C/O THOMAS BIGSBY, PLLC
                    1907 EVERETT AVE.
                    EVERETT, WA 98201


                    LAW OFFICE OF CARL
                    COLBERT, LTD, PC
                    40 LAKE BELLEVUE DRIVE
                    SUITE 100
                    BELLEVUE, WA 98005


                    LIEN SOLUTIONS
                    P.O. BOX 29071
                    GLENDALE, CA 91209


                    LIGHTHOUSE SUITES INN
                    491 DAMON ROAD
                    OCEAN SHORES, WA 98569




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                    LITFKEEPER
                    PO BOX 218
                    SLATERSVILLE, RI 02876-0218


                    LLC
                    628 99TH ST SW
                    LYNNWOOD, WA 98036


                    LYNNWOOD POLICE STATION
                    19100 44TH AVE W
                    LYNNWOOD, WA 98036


                    MID AMERICAN ELEVATOR COMPANY
                    175 PRAIRIE LAKE ROAD
                    DUNDEE, IL 60118


                    NCS CREDIT
                    729 MINER ROAD
                    CLEVELAND, OH 44143


                    NEII BENEFIT PLANS
                    19 CAMPUS BLVD, SUITE 200
                    NEWTOWN SQUARE, PA 19073-3288


                    NORTECH
                    9630 49TH AVE S.
                    SEATTLE, WA 98118


                    PETRO CARD
                    PO BOX 34243
                    SEATTLE, WA 98124


                    PRIME DUMPSTER
                    262604 SOUTH 208TH STREET
                    SEATTLE, WA 98198


                    PUD
                    PO BOX 1107
                    EVERETT, WA 98206-1107


                    RACHEL HOUSER
                    526 N WEST AVE, #35
                    ARLINGTON, WA 98223-1251




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                    REGENCE HEALTH PLAN
                    1800 - 9TH AVE.
                    SEATTLE, WA 98101


                    RODNEY ISAAC, II



                    SAFETY - KLEEN SYSTEMS, INC
                    42 LONGWATER DR
                    NORWELL, MA 02061


                    SARAH PURDEY



                    SCHLEMLEIN, FICK & FRANKLIN
                    66 SOUTH HANFORD STREET
                    SUITE 300
                    SEATTLE, WA 98134


                    SEAN SEEMAN



                    SERVICEMASTER SUPERB CLEANING
                    PO BOX 1104
                    MARYSVILLE, WA 98270-1104


                    SMITH FIRE SYSTERMS
                    1106 54TH AVE E
                    TACOMA, WA 98424


                    SOUTHERN ELEVATOR & ELECTIC SU
                    2781 W MCNAB RD
                    POMPANO BEACH, FL 33069


                    SPIRE UNIVERSITY BUIDLING
                    PO BOX 82644
                    GOLETA, CA 93118


                    STEPHEN MAIN



                    SUNBELT RENTALS
                    PO BOX 585
                    HERMITAGE, TN 37076


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                    SURETY GROUP
                    801 SOUTH FIGUERA STREET
                    SUITE 700
                    LOS ANGELES, CA 90017


                    T-MOBILE
                    PO BOX 742596
                    CINCINNATI, OH 45274-2456


                    TESLA ELECTIC, LLC
                    PO BOX 7066
                    BONNEY LAKE, WA 98391


                    THE LEVITON LAW FIRM LTD
                    ONE PIERCE PLACE
                    SUITE 725W
                    ITASCA, IL 60143


                    TIARA DE LAGO
                    PO BOX 3080
                    BELLEVUE, WA 98009-3080


                    TOKIO MARINE HCC
                    801 SOUTH FIGUERO STREET
                    SUITE 700
                    LOS ANGELES, CA 90017


                    UNITEC PARTS COMPANY
                    PO BOX 93937
                    CHICAGO, IL 60673-3937


                    UNITED STATES ATTORNEYS OFFICE
                    ATTN: BANKRUPTCY ASSISTANT
                    700 STEWART STREET, ROOM 5220
                    SEATTLE, WA 98101


                    WA DEPARTMENT OF REVENUE
                    2101 4TH AVE, STE 1400
                    SEATTLE, WA 98121


                    WA DEPT OF L & I
                    PO BOX 44000
                    OLYMPIA, WA 98504-4000




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                    WASHINGTON ELECTRICAL
                    CONTRACTING, LLC


                    WASTE MANAGEMENT
                    PO BOX 541065
                    LOS ANGELES, CA 90054-1065


                    WEST ROY BUILDING
                    EVERGREEN PROPERTIES PNW 999 N
                    #215
                    SEATTLE, WA 98103


                    WESTAR PROPERTIES, NW, LLC
                    18933 59TH AVE., NE
                    NO. 102
                    ARLINGTON, WA 98223


                    WTP TRADEMARK PUBLICATION
                    1760-25 UNION TURNPIKE
                    FRESH MEADOWS, NY 11365


                    WURTEC
                    6200 BRENT DR
                    TOLEDO, OH 43611


                    ZAHNSOW PROPERTIES
                    340 SUNSET AVENUE
                    EDMONDS, WA 98020


                    ZIX CORP SYSTEMS
                    PO BOX 735650
                    CHICAGO, IL 60673-5650




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                                        United States Bankruptcy Court
                                            Western District of Washington
 In re   FS Ventures, LLC                                                           Case No.
                                                           Debtor(s)                Chapter     11




                            CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for FS Ventures, LLC in the above captioned action, certifies that the following is a
(are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or more of any
class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:



  None [Check if applicable]




June 21, 2024                                  /s/ Thomas D. Neeleman
Date                                           Thomas D. Neeleman 33980
                                               Signature of Attorney or Litigant
                                               Counsel for FS Ventures, LLC
                                               Neeleman Law Group, P.C.
                                               1403 8th Street
                                               Marysville, WA 98270
                                               (425) 212-4800 Fax:(425) 212-4802
                                               courtmail@expresslaw.com




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